          Case 2:17-cv-00822-DLR Document 406 Filed 03/15/22 Page 1 of 2




 1 TALONYA ADAMS
   522 N. Central Avenue Suite 25401
 2 Phoenix, Arizona 85004
   Telephone 602.903.8809
 3   talonya@gmail.com

 4   Plaintiff
 5

 6                           IN THE UNITED STATES DISTRICT COURT
 7                               FOR THE DISTRICT OF ARIZONA

 8

 9
     Talonya Adams,                                              No. CV-17-00822-PHX-DLR
                              Plaintiff,
10                                                               NOTICE OF DEATH
     v.                                                          OF FACT WITNESS
11
                                                                 DAVID BRADLEY
12   Arizona Senate,
13                            Defendant.
14

15
            Plaintiff Talonya Adams hereby notifies the Court of the death of Mr. David Bradley,
16
      former Arizona State Senate Democratic Minority Leader for Legislative District 10. The
17
      Honorable David Bradley died Saturday, February 19, 2022.1
18
            Mr. Bradley’s sworn deposition was taken on March 27, 2018. During trial in July 2019
19
      (Doc. 179) and November 2021 (Doc. 325-1) Mr. Bradley testified as a fact witness.
20

21          RESPECTFULLY SUBMITTED this 15th day of March, 2022.
22
                                                               By:________________________
23                                                                Ms. Talonya Adams, Plaintiff
24

25
      1 Smith, Dylan, David Bradley, former legislator from Tucson, dead at 69, TUCSON SENTINEL, February 19, 2022,
26    https://www.tucsonsentinel.com/local/report/021922_david_bradley_obit/david-bradley-former-legislator-from-
      tucson-dead-69/ (last visited March 15, 2022).
27
      See also Governor Ducey Orders Flags at Half-Staff in Honor of Former Seantor David T. Bradley, ARIZONA
      GOVERNOR, February 19, 2022, https://azgovernor.gov/governor/news/2022/02/governor-ducey-orders-flags-half-
28    staff-honor-former-senator-david-t-bradley (last visited March 15, 2022).
       Case 2:17-cv-00822-DLR Document 406 Filed 03/15/22 Page 2 of 2



 1                              CERTIFICATE OF SERVICE
 2

 3
          I hereby certify that on March 15, 2022, the foregoing Notice of Death of Fact
 4
     Witness David Bradley was electronically transmitted to the Clerk’s Office using the
 5
     CM/ECF system for filing, and a copy of the foregoing was sent via email to:
 6

 7
     Mr. Michael Moberly
 8   Ryley, Carlock & Applewhite
     3200 N. Central Ave., Suite 1600
 9   Phoenix, Arizona 85012-2401
     Telephone 602.440.4800
10   mmoberly@rcalaw.com
11
     Attorneys for Defendant
12

13

14   By: _____________________
15       Talonya Adams, Plaintiff

16

17

18

19

20

21

22

23

24

25

26

27

28


                                                2
